                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               February 19, 2015
                              No. 10-13-00365-CR
                            DARREL WAYNE WASHINGTON
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 19[th] District Court
                            McLennan County, Texas
                         Trial Court No. 2011-1691-C1
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgments as to Count I and Count II, each signed on October 9, 2013, are affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.	
							PER CURIAM
							SHARRI ROESSLER, CLERK

						By:    Nita Whitener			
							Deputy Clerk

